                       UNITED STATES DISTRICT COURT
                  CENTRAL DISTRICT OF CALIFORNIA
                            WESTERN DIVISION



CARLOS YAKIMOWICH,                       Case No. CV 20-01317-VAP (DFM)

          Plaintiff,                     Order Accepting Report and
                                         Recommendation of United States
             v.                          Magistrate Judge

ERIC ZAMBRANO et al.,

          Defendants.



      Pursuant to 28 U.S.C. § 636, the Court has reviewed the pleadings and
all the records and files herein, along with the Report and Recommendation of
the assigned United States Magistrate Judge. No objections to the Report and
Recommendation were filed, and the deadline for filing such objections has
passed. The Court accepts the findings, conclusions, and recommendations of
the United States Magistrate Judge.
      IT IS THEREFORE ORDERED that Judgment be entered dismissing
this action without prejudice.



Date: October 21, 2020                    ___________________________
                                          VIRGINIA A. PHILLIPS
                                          United States District Judge
